Case 3:21-cv-00900-GCS Document1 Filed 08/09/21 Page 1of29 Page ID#1

UNITED STATES DISTRICT COURT

for the
Southern District of Illinois

MicHAel, Lé2 ZD#Y/ 7103 eC

Case Number: ~~ 7
(Clerk's Office will provide)

Plaintiff(s)/Petitioner(s)

0 CIVIL RIGHTS COMPLAINT

pursuant to 42 U.S.C. §1983 (State Prisoner)

2 CIVIL RIGHTS COMPLAINT

pursuant to 28 U.S.C. §1331 (Federal Prisoner)

CO CIVIL COMPLAINT

pursuant to the Federal Tort Claims Act, 28 U.5.C.
§§1346, 2671-2680, or other law

I. JURISDICTION

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A.  Plaintiff’s mailing eles eile Sabs€ a present had 196 Ce) K Ch Ce XD)

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Defendant #1:

B. Defendant S, = 70 kK EZ, 4A is employed as

(a) (Nanie of First Defendant)

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(b) (Position/ Title)

with L2X FoRD MATA CRVHES ~ EOC

(c) (Employer’s Name and Address)
yn pown AddkES 2S

At the time the claim(s) alleged this complaint arose, was Defendant #1
employed by the state, local, or federal government? Yes No

If your answer is YES, briefly explain: 7p Hf y Be / fe F Le Mv fe Zz d
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Case 3:21-cv-00900-GCS Document1 Filed 08/09/21 Page 2 of 29 Page ID #2

Defendant #2:
C. Defendant Non, LAC Ke V is employed as
(Name of Second Defendant)
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(Position/ Title)

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(Employer's Name and Address)

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At the time the claim(s) alleged in this complaint arose, was Defendant #2
employed by the state, local, or federal government? Aves ONo

If you answer is YES, briefly explain: Ves 7d NN V Zeer LA090X FoR Dd
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Additional Defendant(s) (if any):

D. Using the outline set forth above, identify any additional Defendant(s).

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PREVIOUS LAWSUITS

A. | Have you begun any other lawsuits in state or federal court while you
were in prison or jail (during either your current or a previous time in prison or
jail), e.g., civil actions brought under 42 U.S.C. § 1983 (state prisoner), 28 U.S.C. §
1331 (federal prisoner), 28 U.S.C. §§ 1346, 2671-2680, or other law? es LINo

B. If your answer to “A” is YES, describe each lawsuit in the space below. If
there is more than one lawsuit, you must describe the additional lawsuits on
another sheet of paper using the same outline. List ALL lawsuits in any

“jurisdiction and indicate the court where they were filed to the best of
your ability, including those that resulted in the assessment of a. “strike”
under 28 U.S.C. § 1915(g) and/or those that were dismissed. for being
frivolous, malicious, or for failure to state:a claim (see 28 U.S.C. § 1915A; 28
U.S.C. § 1915(e)(2); Federal Rule of Civil Procedure 12(b)(6)). FAILURE TO
FULLY DISCLOSE . YOUR LITIGATION HISTORY, INCLUDING
“STRIKES,” MAY RESULT IN SANCTIONS THAT INCLUDE DISMISSAL

OF THIS ACTION.
1. Parties to previous lawsuits:
Plaintitt(s): 9770 AGE! (EL

Kr
Defendant(s): TL] poc

2. Court (if federal court, name of the district; if state court, name of

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the county) Pontac fe ) 0 OY BIKE
3. Docket number: 224/024 yo te YG ionamin flfipg 7 Til f: CL~d/o x, /

4. Name of Judge to whom case was assigned: 644/¢ACECH1 y: VAL
STIRLING
5. Type of case (for Gps Was it a habeas corpus or civil rights

action?): € “A, 1 A: §

6. Disposition of case (for example: Was the case dismissed? Was it

appealed? Is it still pending?): fia f léd 70 UP, ) Ute AOLRE SS

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hoVtH i
7. Approximate date of filing lawsuit: 677 7 oO [3

B. Approximate date of disposition: a Of x

9. Was the case dismissed as being frivolous, malicious, or for failure to
state a claim upon which relief may be granted and/or did the court
tell you that you received a “strike?”/| 0.

UI. GRIEVANCE PROCEDURE

A. 1s there a prisoner grievance procedure in the institution? Yes C1 No
B. Did you present the facts relating to your complaint in the prisoner
grievance procedure? es. [No

Cc. If your answer is YES,

1 What steps did you take? ZL Whose Le LAV GASTON Jd
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“-D. Ifyou awl 4 Kc , explain why not. ae

E. if there is no prisoner grievance procedure in the institution, did you
complain to prison authorities? (1Yes CINo
FE. [f your answer is YES,

lL. What steps did you take?

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ILLINOK, 9 -:. ¥ERNT OF CORRECTIONS
2 Offender Request
Offender Name: A / / C Pid C/ Lr LC _ ID WMO Living Unit SC 40H
Job Assignment: fo a Shift:

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Please refer to the directory located i in your orientation manual and address proper personnel.

To: Htatlh lake

{request (] interview [[] cell ae Ay C1] visit (J Trust Fund [] purchase

for the purpose of (explain): FOR FOG A y
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pO
Remarks by staff (if necessary) : a Remarks by supervisor (if necessary) :
_—
Print Staff Name Print Supervisor Name
Staff Signature Date Supervisor Signature Date
Distribution: Affected Unit DOC 0286 (Rev. 4/2010)

Printed on Recycled Paper
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ILLINOIS DEPARTMENT OF CORRECTIONS

Offender necueat
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Offender Name:_17 L LA ( i ‘ Lr LE ae —, flea y $( LUG
Job Assignment: L ee Shift:

Please refer to the directory located in your orientation manual and address proper personnel. .
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Offender's Signature “ ‘ " Date :
RO NOT WRITE BELOW THIS LINE
Remarks by staff (if necessary) : pt Remarks by supervisor (if necessary) :
CO
Print Staff Name Print Supervisor Name
Staff Signature Date Supervisor Signature Date

Distribution: Affected Unit DOC 0286 (Rev. 4/2010)

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Case 3:21-cv-00900-GCS Document 1 Filed 08/09/21 Page 19 of 29 Page ID #19

ILLINOIS . PARTMENT OF CORRECTIONS a
> Offender Request ee
Offender Name: Sn L AAC/ t Lt Lv. 6 ID SIT1C8 Living Unit: 5C. Li 6
Job Assignment: L Shift__,” sh

Please refer to the directory located in your orientation manual and address proper Personnel.

To:

lrequest [1] interview [1 cell assignment [visit C] Trust Fund [] purchase [J other ¢epecify) zt LUA eg LAONC
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Remarks by staff (it necessary) ; oft Remarks by supervisor (if necessary) :
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Print Staff Name J. Print Supervisor Name

Staff Signature / Date Supervisor Signature Date

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Counseling Summary

IDOC# Y17162 Counseling Date 07/13/21 13:23:29:050
Offender Name LEE, MICHAEL . Type Collateral
Current Admit Date 08/06/2020 Method Grievance
MSR Date 10/24/2022 Location LAW SEGREGATION
HSE/GAL/CELL S-CL-16 Staff BICE, KATIE L., Office Coordinator

Grievance Office received grievance #07-21-100 marked emergency regarding medical treatment, dated

07/09/2021. Grievance sent to CAO for review. Fo K O8 Tece @ nw Y@ R ht
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Print Date 7/13/2021
Case 3:21-cv-00900-GCS Document 1. Filed 08/09/21 Page 21 0f 29 Page ID #21
State of Illinois - Department of Corrections

Counseling Summary

IDOC# Y17162 Counseling Date 07/26/21 14:21:25:293
OffenderName LEE, MICHAEL Type Collateral
Current Admit Date 08/06/2020 Method Grievance
MSR Date 10/24/2022 Location LAW SEGREGATION
HSE/GALICELL S-CL-16 Staff BICE, KATIE L., Office Coordinator

Grievance Office received grievance #07-21-134 dated 07/08/2021 regarding medical treatment at 2nd
level for review.

Print Date 7/26/2021
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State of Illinois - Department of Corrections
Counseling Summary

IDOC# Y17162 Counseling Date 07/26/21 14:22:02:457
Offender Name LEE, MICHAEL Type Collateral
Current Admit Date 08/06/2020 Method Grievance
MSR Date 10/24/2022 Location LAW SEGREGATION
HSE/GAL/CELL S -CL-16 Staff BICE, KATIE L., Office Coordinator

Grievance Office received grievance #07-21-132 dated 07/12/2021 regarding medical treatment at 2nd
level for review.

Print Date 7/26/2021
Case 3:21-cv-00900-GCS Document 1 Filed 08/09/21 Page 23 of 29 Page ID #23

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Assn AWRENG EGC a O/7- Zz Lh) Housing Unit. Sah : =
itive GUL 13 2021 ILLINOIS DEPARTMENT OF CORRECTIONS

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Date: g ender (please print): ID tk = Ee OF lee
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Present Facility: Facility where grievance issue occurred:
Ald BLAL LulC Lowy LEI Lull
ature Of grievance:

(1 Personal Property CJ Mail Handling = ——-[Zfedical Treatment

(1) ADA Disability Accommodation
C] Staff Conduct 7) Dietary (J HIPAA ) Restoration of Sentence Credit’
CL] Transfer Denial by Facility — [Z-csther (specify FNANECaUAre Nex FIO CEB C
(Disciplinary Report ~
Date of report

Facility where issued
Note: Protective Custody Denials may be grieved immediately via the loca! administration on the protective custody status notification.
Complete: Attach a copy of any .rgetitent document (such as 2 Disciplinary Report, Search Record, etc.) and place tn the designated
locked receptacle marked “grievance”:
Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to review by the Administrative Review Board
Grievance Officer, only if the issue involves discipline at the present facility or issue not resolved by Counselor
Chief Administrative Officer, only if EMERGENCY grievance

Mail to Administrative Review Board, only if the issue involves protective custody,
issues from another facility except medic:

al and personal property issues, or issues n
Summary of Grievance (Provide infor

involuntary administration of Psychotropic drugs,
mation including a description of what happened, when and whe
each person involved): on 7 Al

ot resolved by the Chief Administrative Officer.
re it happened, and the name or identifying information for

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rec if this is NOT an emergency grievance.

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(Continue on reverse side if necessary)

Counselor's Response (if applicable) Date Received: (FD Send directly to Grievance Officer

o Outside jurisdiction of this facility. Send to: Administrative Review Board, PO Box 19277, Springfield, 1. 62794-9277
Response:

Print Counselors Name sign Counselor's Name Date
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2. What was the result?

G. If your answer is NO, explain why not.

H. Attach copies of your request for an administrative remedy and any
response you received. If you cannot do so, explain why not. A/fe Ge

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Iv. STATEMENT OF CLAIM

A, State here, as briefly as possible, when, where, how, and by whom you feel
your constitutional rights were violated. Do not include legal arguments
or citations. If you wish to present legal arguments or citations, file a
separate memorandum of law. If you intend to allege a number of

related claims, number and set forth each claim in.a separate paragraph.
If your claims relate to prison disciplinary proceedings, attach copies of
the disciplinary charges and any disciplinary hearing summary as
exhibits. You should also attach any relevant, supporting documentation.

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V. REQUEST FOR RELIEF

State exactly what you want this court to do for you. If you are a state or federal

prisoner and seek relief which affects the fact or duration of your imprisonment (for

example: illegal detention, restoration of good time, expungement of records, or

parole), you must file your claim on a habeas corpus form, pursuant to 28 U.S.C )

§§ 2241, 2254, or 2255. Copies of these forms are available from the clerk’s office, /, fh 7

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VI. JURY DEMAND (check one box below)

The plaintiff Pdoes L] does not request a trial by jury.

DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE11

I certify to the best of my knowledge, information, and belief, that this complaint is in full
compliance with Rule 11(a) and 11(b) of the Federal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

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Signature of Attorney (if any)

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